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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          SACV 20-1416JVS(DFMx)                                                 Date     October 27, 2020
 Title             Adriana Seneca Holt, et al v County of Orange, et al


 Present: The                    James V. Selna, U.S. District Court Judge
 Honorable
                         Lisa Bredahl                                                  Not Present
                         Deputy Clerk                                                 Court Reporter


                Attorneys Present for Plaintiffs:                     Attorneys Present for Defendants:
                          Not Present                                                  Not Present
 Proceedings:           (In Chambers)          ORDER TO SHOW CAUSE RE DISMISSAL
                                               FOR LACK OF PROSECUTION

       The Court, on its own motion, hereby ORDERS plaintiff(s) to show cause in writing no later than
November 13, 2020, why this action should not be dismissed for lack of prosecution. As an alternative
to a written response by plaintiff(s), the Court will consider the filing of one of the following, as an
appropriate response to this OSC, on or before the above date:

    X    Proof of service of “Corrected” First Amended Complaint and/or
    X    Answer by the defendant(s) or plaintiff's request for entry of default.

        Absent a showing of good cause, an action shall be dismissed if the summons and complaint have
not been served upon all defendants within 90 days after the filing of the complaint. Fed. R. Civ. P. 4(m)
The Court may dismiss the action prior to the expiration of such time, however, if plaintiff(s) has/have not
diligently prosecuted the action.

        It is the plaintiff’s responsibility to respond promptly to all orders and to prosecute the action
diligently, including filing proofs of service and stipulations extending time under Rule 55 remedies
promptly upon default of any defendant. All stipulations affecting the progress of the case must be approved
by the Court. Local Rule 7-1

       Scheduling Conference set for November 2, 2020 at 10:00 a.m. is continued to December 14,
2020 at 10:00 a.m. Counsel shall file the Joint Rule 26 Meeting Report, with the completed Exhibit A, by
December 7, 2020.

                                                                                                          :     00

                                                               Initials of Preparer         lmb




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